        Case 4:22-cr-00075-ALM-KPJ Document 1 Filed 03/02/22 Page 1 of 1 PageID #: 1


AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Eastern District of Texas
                                                                                                              MA[)
                                                                                                               I, f\ - 2      '_.'(1'.;')
                                                                                                                              _,... ..._ ..


                                                                                                         Clerk, L. ..,_ lJ1stnu :....t.urt
                  United States of America                           )                                   Eastc-rn District of Texas
                             v.                                      )
                                                                     )       Case No.
              ANTHONY JOSEPH HAMMER                                  )                  4:22-mj-114
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   July 28, 2021                  in the county of               Denton                             in the
        Eastern        District of            Texas             , the defendant(s) violated:

             Code Section                                                      Offense Description
18 USC 875(c)                                  Interstate communication of a threat




          This criminal complaint is based on these facts:
See attached affidavit.




          � Continued on the attached sheet.




                                                                                               SA Jeffrey Cotner, FBI


Sworn to before me and signed in my presence.


Date:             03/02/2022
                                                                                                  Judge 's signature

City and state:                          Plano, Texas                          Kimberly C. Priest Johnson, U.S. Magistrate Judge
                                                                                                Printed name and title
